Case 1:15-cv-05871-KPF Document 47 Filed 01/26/17 Page 1 of 66

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

x
KELLY PRICE

Index No.: 15-CV-0587]
PLAINTIFF
-against-

DETECTIVE LINDA SIMMONS Individually,
And as an employee of the New York City Police
Department, ADA MARIA STROHBEHN and
ADA KENYA WELLS Individually,
And as employees of the New York County “Ss
District Attorney’s Office, THE CITY OF NEW YORK, =
Deputy DA Audrey Moore, ADA Larry Newman, ADA =
Laura Higgins nee Richendorfer, DA Cyrus Vance Jr., =
as employees of the New York County District ie
Attorney’s Office, Inspector Obe of the New York City
Police Department, in her capacity as an employee zz
of the New York City Police Department, =
Sergeant Agron, in his capacity as an employee =
of the New York City Police Department, =
Rose Pierre-Louis in her capacity as the Former
Commissioner of Domestic Violence of the
City of New York, PO Matthew Winters, individually
And in his capacity as an employee of the New York City | -
Police Department, PO Relf, individually —— TT
And in his capacity as an employee of the New York City Us Pe SiO Y
Police Department, PO Maladano, individually Wieser a4Tem L
And in her capacity as an employee of the New York City La senegal Gen E LED
Police Department, PO Jane Doe, individually FLECTW JIS Ree
And in her capacity as an employee of the New York City / a, A
Police Department, Jane and/or John Doe Operator Py I TP 6.
of @NYPD28PCT Twitter Account, John Doe Operator DATE ei ED [ ~
of @NYCagainstAbuse Twitter Account, John Doe Operator —
of @RPLNYC Twitter Account, Jane Doe Assistant
District Attorney, John Doe Assistant District Attorney,
Jane Doe NYPD Officer ], John Doe NYPD Officer 1,

Jane Doe Chief of Trial Bureau 70, John Doe Chief of
Trial Bureau 70

DEFENDANTS,

Motion for Reconsideration

January 26, 2017
Case 1:15-cv-05871-KPF Document 47 Filed 01/26/17 Page 2 of 66

Dear Hon. Polk-Failla: This request addresses the order denying the complaint filed on
or about January 2, 2017, as the operative pleading/ document the case will proceed with.
I. Many of the actions I was instructed to explore and articulate and one action I had
specifically requested to add are not in the operative document. I respectfully request
Hon. Judge Polk-Failla that you give me leave to amend my complaint to include these
actions that grew out of my false arrest on or about October 12, 2010 that was not
dismissed until on or about September 15, 2016. I had been granted leave to amend my
complaint to include these actions but even though I was granted leave by Hon. Judge
Preska to amend the version of the complaint I turned in on or about September 15, 2016
was not accepted because I had mis-labeled it. The version accepted and maintained as
operative was turned in on Sept 2, 2016: before the 10/12/10 arrest had even been
adjudicated.

II. Additionally I request that the court allow me to add back into the caption District
Attorney Cy Vance Jr. and Maria Strohbehn and Detective Linda Simmons as individual
parties and not just employees of the City of New York.

Ill. All of my Section 1983 torts were filed timely, within the three year statute of
limitations required for all actions arising out of the charges dismissed and sealed against
me on or about on July 25, 2012 and while those actions still stand against the City of
New York I believe I have met the requirements outlined in Ashcroft v Iqbal to draw a
direct connection between Vance and the constitutional crimes unhanded by Vance and
his ADA, Maria Strohbehn. New evidence has come to light that directly connects them

as I will outline in this request below.

IV. Additionally, many of the exceptions to the tenants of Absolute and Qualified
immunity that are usually available defenses to district attornies and assistant district
attornies come into play in my circumstances. I have already submitted as evidence the
affidavit from former NYPD Lt. Mark C. Larocca (Exhibit A Affidavit from Retired
NYPD Lt. Larocca): this document proves the MDAO inserted itself into the
investigatory role and thus all absolute defenses and many qualified immunity defenses

are no longer available to members of Cy Vance Jr.’s staff and to the MDAO himself.

V. Since the date of my filing that has been accepted as the “operative complaint” by the

court I have had two run-ins with the NYPD: in both circumstances because I am on the
Case 1:15-cv-05871-KPF Document 47 Filed 01/26/17 Page 3 of 66

NYPD compstat “Arrest Alert List” and labeled STILL as a fabricator J have been denied
services and protections on TWO occasions this fall: One on November 17, 2017 and
one once again on January 24, 2017. I would like to fully have the chance to articulate
the on-going denial of services I encounter because the MDAO marked me as a fabricator
in their database years ago. Additionally there are two incidents of denials of services by
the NYPD from 2016 that I would like to add into my complaint that I did not include
before. (Exhibit # L Photos of injuries from Police Arrest after encounter on subway
where they looked me up in NYPD database and charged me with public intoxication and

dragged me to Psych Ward for evaluation—I was discharged, again.)

Reconsideration of a court’s judgement under Rule 59€ is an “extraordinary remedy to be
employed sparingly in the interests of finality and conservation of scarce judicial
resources.” USA Certified Merchants, LLD v. Koebel, 273 F. Supp 2d 501, 503
(S.D.N.Y 2003). “A court is justified in reconsidering its previous ruling if: (1) there is
an intervening change in the controlling law; (2) new evidence not previously available
comes to light; or (3) it becomes necessary to remedy a clear error of law or to prevent
obvious injustice.” Slater, 374 F. Supp. 2d at 253 (citing Atl. States Legal Found., Inc. v.
Karg Bros., Inc., 841° Supp. 51, 53 (N.D.N.Y. 1993)).

In these circumstances I have several pieces of new evidence and I believe an obvious
injustice has transpired as I had previously been both instructed by Hon. Judge Preska to
examine State Created Danger torts to include in my actions AND I had been granted
leave to add actions stemming from my false arrest on or about 10/10/10 that was not
dismissed until on or about 9/15/2016. None of these actions has been accepted by the
court. Both times I have submitted complaints with these actions the court has rejected
my filing that sprung merely from a misunderstanding. Below is a timeline regarding

those actions:

1. On July 26, 2016 Hon Judge Preska graciously ordered a third amended
complaint be written and filed within 30 days. In her orders she advised, among
other instructions, that my arguments that the City of New York had an obligation
to protect me were buttressed by State Law, and that under Federal Law there are
specific circumstances in which the government is obligated to protect a private
citizen. She advised me to examine the case law surrounding Dwares, and from
there I learned about State Create Danger, a concept I had never been introduced
to before. I found Okin v Cornwell on Hudson and realized that a precisely what
happened to Ms. Okin had happened to me and following that the heavy work of
my rewrite involved me articulating how many events detailed in my specific
tod

IL.

Case 1:15-cv-05871-KPF Document 47 Filed 01/26/17 Page 4 of 66

chronology of circumstances were violations of State Created Danger against me.
On August 25, 2016 I wrote the court requesting my complaint be accepted on
September 2, 2016 as J had not received Hon. Judge Preska’s order in the mail
until August 3, 2016 and I needed the full 30 days to dispatch the work as J was
grappling with the enormity of the task at hand.

Hon Preska approved that motion by order on or about early September of 2016.
On September 2, 2016 I wrote again requesting a second extension for the
deadline of the third amended complaint because I had discovered an arrest and
charge from October 2010 was still lingering, un-adjudicated against me in
Supreme Court of NY due to an error on the behalf of the Manhattan District
Attorney’s Office. I requested a further extension of two weeks to have the
charge adjudicated and retrieve documentation that the charges terminated in my
favor (a predicate for bringing action). I needed to be able to include actions for
this false arrest and conspiracy against me as early as October of 2010 to
overcome some constraints on discovery that statute of limitations will entitle me
to should I manage to keep my pleadings alive pro se somehow and reach a
discovery phase.

I did not know if Hon. Preska would approve my second request for extension of
the third re-write so I was obligated to turn in a version of my complaint
regardless before receiving her orders approving my motions for deadline
extension or risk complete dismissal if she did not approve my deadline request.
Because I could not risk complete dismissal I turned in the work I had managed to
finish so that I did not risk dismissal by not turning in my work by the deadline.
On September 2, 2016 Hon. Judge Preska approved my extension to turn in my
third re-write on September 15, 2016.

. I didn’t know how to label the version I was approved to turn in on September 15,

2016: I should have labeled it “2"! Version of 3° Amended Complaint” or just
FINAL Third Amended Complaint but Instead I made an HUGE mistake and
labeled it “fourth amended complaint”

The reason I requested the extension, and was approved, was that I needed to wait
for the 10/2010 charges against me to be dismissed. The version of my complaint
that is now the operative document does not include these charges or the fuller
articulated actions regarding State Created Danger et al that | worked on as per
Hon Judge Preska’s instructions. I found for the first time in the writing of the
complaint I turned in on 9/16 (due on 9. /15 but turned in within the allotted 24-
hour grace period of a deadline allowed) that J understood and was able to
articulate many torts that I was unable to define in previous attempts to articulate
constitutional wrongdoings that were levied against me that J describe in detail
chronologically in my filing. .

1. New Evidence has come to light regarding DA Vance’s and ADA Maria
Strohbehn’s direct involvement in my denial of due process rights and
protections. J am aware that Ashcroft v Iqbal has created a high standard
of evidence and | believe I have enough to tie directly Vance and
Strohbehn, and maybe Christopher Ryan, Chief of the MDAO’s Violent
Case 1:15-cv-05871-KPF Document 47 Filed 01/26/17 Page 5 of 66

Criminal Enterprises Bureau.

A. Previously I have included ADA Strohbehn’s Resumes (Exhibit #s B
& C) as proof that the ADA who refused to investigate my allegations
of abuse unhanded to me by my ex-boyfriend /pimp and declined to
prosecute him was also the ADA working on “Operation Crew Cut”
that took down the 137" st Gang.

B. The “137" st. Gang” were investigated and indicted by Grand Jury on
or about February 10, 2010 and arraigned by Cy Vance HIMSELF on
February 16, 2011 (Exhibit # D DNAinfo.com news article pps 1-3).
Vance had personal involvement and infact directed the investigation
into the “take down:” “Two Harlem youth gangs running a violent
crack-and gun-dealing operation centered on one Central Harlem block
have been busted by authorities in an investigation personally let by
Manhattan District Attorney Cy Vance Jr., his office announced.”
(Exhibit D page 1) And “The indicted members were charged with
conspiracy gun and drug charges. A series of Arraignments beginning
Manhattan Supreme Court late Wednesday moming.” (Exhibit D page
2) VANCE HIMSELF STOOD BEFORE THE JUDGE AS THE
DEFENDANTS WERE ARRAIGNED IN Manhattan Supreme
Court.” There is NO WAY he did not know that the proffer provided
by my batterer and pimp, Raheem Andre Powell was used to garner
the GJ indictment and to make out the facial sufficiency of the
criminal complaint against the “137" St Gang.” Nor is it not possible
for Vance to have not known that Raheem was given a “deal” for
testifying and that the MDAO agreed NOT to prosecute him for his
crimes against me.

C. There is strong evidence that testimony given-over in the Grand Jury
was offered by a person who was given a “deal” that I have just
unearthed in the criminal court file of defendant Jaquan Layne. This
particular decision on an Omnibus motion was withheld previously
when I examined Mr. Layne’s file as much of the file needs to be
redacted by the clerks each time it is examined. Mr. Layne was
arrested in 2009 and detained on Rikers until early February 2011,
when his entire “Gang” was arrested in a round-up days after the
MDAO declined to prosecute my batterer, Raheem Powell, and
indicted in short-order en-masse after ADA Maria Strohbehn threw me
out of her office and told me that if I made another report against
Raheem she would “Lock me up and throw away the key.” The
importance and relevance of the timing of the “gang” arrest and
indictment to my case is no coincidence. The decision itself also
contains clues as to what was presented at the Grand Jury of the gang
on or about February 10, 2010.

D. Members of the 137" st Gang asked the Criminal Court judge
presiding over their case for the Grand Jury minutes to be reviewed to
ensure proper directions were made. In his response to their Omnibus
motion Hon. Judge McLaughlin made SPECIFIC instructions to DA
Case 1:15-cv-05871-KPF Document 47 Filed 01/26/17 Page 6 of 66

Vance’s office regarding this: “This court reminds the prosecution of
its continuing duty to disclose favorable evidence intis possession to
the defense...This obligation covers evidence material to the
impeachment of prosecution witnesses, INCLUDING THE
EXISTENCE OF ANY AGREEMENT MADE TO INDUCE A
WITNESS’S TESTIMONY...” (emphasis added) Exhibit # E Page # 3)

E. I cannot possibly have access to the Grand Jury Indictment/minutes as
this is never allowed without an order from the court as a result of a
discovery process. I pray I am able to steward my sad pleadings to
this point.

F. All of the actions made out in the complaint are from years before the
arrest and indictment of all Gang-Members EXCEPT Jaquan Layne
who was arrested in 2009 on an un-related assault charge. (Exhibit # F
Complaint vs 137" st Gang.)

G. I .would like to request the Court’s permission to ADD one other
individual on my caption: ADA Christopher Ryan, Chief Violent
Criminal Enterprises, Manhattan DA (See Exhibit # G, Resume of
Christopher Ryan). As the chief of this operation it is highly unlikely
that Ryan did not know that ADA Strohbehn had NOT investigated
my allegations of abuse and trafficking. Ryan still travels around the
country bragging about the 137" st “gang bust” at paid-speaking
appearances such as the “Prosecutors Against Gun Violence Summit”
held in Los Angeles, CA on May 2, 2016 (Exhibit # H PAGB
Powerpoint presentation given by Ryan.)

H. Ryan signed the complaint and all the accompanying paperwork filed
with Criminal Court making out the case against the 137" st Gang
(Exhibit #I Ryan’s Signature on Various 137" st criminal court
filings.)

J. Christopher Ryan stood at the podium on February 16, 2011 during the
arraignments and at the Press Conference during which Cy Vance
crowed about his office’s work to bring down the gang (Exhibit # K,
Transcript of Vance Presser ref 137" st gang w picture of Ryan on
Page 6 standing next to Vance.)

J. Detective Simmons was likewise directly involved in a conspiracy to
deny my rights and J would like to request the court keeps her on the
caption of my complaint as an individual and not just as an employee
of the City of NYC. Detective Simmons perjured herself in Family
court by claiming she had investigated my claims when she had not.
Recent decisions in OTHER circuits have clearly stated that Gov’t
employees do not get immunity when perjuring themselves on the
stand and I beseech your honor to allow me to continue to make this
argument here in the SDNY.
Case 1:15-cv-05871-KPF Document 47 Filed 01/26/17 Page 7 of 66

Kelly Price Sworn to me this 26" day of January 2017

 

 

January 27, 2017

Address: 534 W 187" st #7, City New York, NY State NY Zip Code 10033

646 676 1940 graciegracie212@gmail.com

)
Case 1:15-cv-05871-KPF Document 47 Filed 01/26/17 Page 8 of 66

Kelly Price orn to me this 26" day of January 2017

 

 

 

NOTARY PUBLIC of NEW YORK
No. 02BA6129047
January 27, 2017 Commission Expires 10/5/2017

 

 

 

 

Address: 534 W 187" st #7, City New York, NY State NY Zip Code 10033

646 676 1940 graciegracie212@gmail.com

)
Case 1:15-cv-05871-KPF Document 47 Filed 01/26/17 Page 9 of 66

12/18/2815 69:23 ¥279754504 SILVIA LAROCCA PAGE 1/81

Smet

 

is FRE a Lhe abs
MMabh ? Lo,
Maria Strohbehn

Assistant District Attorney, Manhatian District Attomey's
Office

New York, New York | Law Practice

Cxaperd Manhatan District Attamay'’s Office

F . US. Depanment of Justee, U.S. Atomey's Olfice, Districtat

Maryland, State Atlomey'’s Ones, pane Ainge County,
Distnct A y's Associat: san F 6

Rasaarch institute”

Cienies The George Washingt University Law School

 

 

 

119

Conapore

 

ED way finkodin.comypub/mana-strohpehn347 ba 2a

= Summary

As a member of the Trial Division, | am responsible for investigating, indicting,and trying felonies. In
Manhattan, we vertically prosecute: | take on cases from arrest and handis them through collateral
appeal, As lead prosecutor, | have tried nine cases before juries in New York County and conducted:
dozens of hearings: | have presented at least fifty cases before the grand jury, including cald-hit DNA.
cases.

—<—<—¢

Currently, | am supervising two junior attorneys in-a project targeted to reduce crime in Mid-town
Manhattan. Inthe past, | served as-a junior member of a project targeting a specific gang responsible for
violence in Harlem, These projects highlight the investigative skills necessary for a big-city prosecutor.

https://mail.google.com/_/scs/mail-static/_/js/k=gmail.main.en.cbf{Mv YeVAYg.O/m=m_i....

 

Eschitne 1S SAR datRYa ne dhe Hoe Document 47 Filed 01/26/17 Page 10 of 66 Page 1 of 1

eS Tu me bee neon oe

Corporate Headshots

$25.00 off to Linkedin Members!
Over 240 Recommendations on
Linkedin!

 

Find Your Dream Job Fast

Trypan Get fres tips on how te find your
travel, tourism & hospitality
dream job.

Jump Stari Q2 Sales

Suppor your hybrid
antreprencuts, overcome tha 3
Fata) Flaws in Selling

People Also Viewed

Amy Cohen
Assistant District Atlomey

== Daniel Boylan
{ Assistant District Anomey, Crime”
Srategies Unit at New York County
Distict Anorey's Oflice
David R. Smith
Thal Atomey atAdam Leitman Galley,
Pe Pc
cee ot

> palmira garcia

Erin Tierney
Assistant Distict Atomey-al New York

1/26/2017
Case 1:15-cv-05871-KPF Document 47 Filed 01/26/17 Page 11 of 66

Maria Strohbehn

Assistant District Attomey, Manhattan District Attorney's Office

Location

New York, New York (Greater New York City Area)

Industry

Law Practice

Maria Strohbehn's Overview

Current

* Assistant District Attorney at Manhattan District Attorney's Office

Past

* Law Clerk at U.S. Department of Justice, U.S. Attorney's Office, District of Maryland

* Intern at State Attorney's Office, Anne Arundel County

* Law Clerk at National District Attorney's Association/ American Prosecutor's Research Institute
Education

* The George Washington University Law School

* University of Maryland Baltimore County

Connections

77 connections

Maria Strohbehn's Experience

Assistant District Attomey

Manhattan District Attorney's Office

Law Practice industry

September 2008 — Present (2 years 11 months)

- Research and write various pre-trial and post-conviction motions, including motions in opposition of
dismissal, motions in opposition of vacating judgment, and motions for protective order

- Write search warrants including residences, computers, cellular telephones, and other mobile technology
- Present cases to the grand jury in Manhattan, from complex identity theft cases to domestic violence
assaults

- Investigate and prosecute long-term employee traud

- Serve as First Chair on bench and jury trials

- Organize trial strategies by reviewing evidence and developing themes

- Collaborate with family lawyers in domestic violence-related custody and divorce issues in the
Integrated Domestic Violence Part of the New York County Supreme Court

- Volunteer, such as a presentation to adolescents in upper-Manhattan on various aspects of the criminal
law and law enforcement issues in New York. including dating violence

- Attend continuing legal education seminars including a lecture on various forms of financial] evidence,
and its collection

- Write complaints to commence prosecution on the basis of a thorough review of evidence in shifts.
including shifts into the early morning

- Balance a caseload of about three-hundred active cases with an aggressive court schedule: Chosen to

begin working on a bureau based project targeting gang-related violent crime in the 28th
precinct in 2011
Harlem Gangs 4nesied Br Cr RRAS MK PifarleMCUDIe AIMS NeWeW 6a26/17 Page 12 of 66 Page 1 of 7

HARLEM (//WWW.DNAINFO.COM/NEW-YORK/MANHATTAN/HARLEM)
Courts (//www.dnainfo.com/new-york/topics/courts)

Crime & Mayhem (U//www.dnainfo.com/new-york/topics/crime-mayhem)

Harlem Gangs Busted in Crackdown

By DNAinfo Staff on February 16, 2011 11:16am | Updated on February 17, 2011 6:10am

vnhiM™M?

 

By Jeff Mays and Shayna Jacobs
DNAinfo Staff

DOWNTOWN — Two Harlem youth gangs running a violent crack- and gun- dealing
operation centered on one Central Harlem block have been busted by authorities in an
investigation personally led by Manhattan District Attorney Cy Vance Jr., his office

announced Wednesday.

Vance said 14 members of the "2 Mafia Family,” also known as 2MF, and "Goons on
Deck” (http: //www.dnainfo.com/20091216/manhattan/harlem-cau ght-crossfire-of-
youth-gangs) are among the city's "most violent criminal gangs." Based on 137th Street
between Lenox and Seventh avenues, the crews joined efforts to run a brisk crack and
cocaine business in a residential community that is home to churches, schools and

community centers, Vance said.

https://www.dnainfo.com/new-york/2011021 6/harlem/two-violent-central-harlem-youth-g.... 1/26/2017
Harlem Gan&sa8@sited Pn WrhasiowkPAareacumMnlifi Ndled@m26/17 Page 13 of 66 Page 2 of 7

The alleged gang members were caught discussing criminal business through recorded
phone calls from Rikers Island and also on Twitter and other social networking sites,
authorities said. Vance said there were over 1000 recorded calls, including many that
were intercepted from jailed gang members at Rikers to alleged "137th Street Crew"

members who were purportedly holding down the street operations.

In the excerpts of Dec. 2 calls listed in the indictment, one of the alleged Harlem gang
members, Jaquan Layne, 20, gave instructions to another purported gang member,
Jeffrey Brown, 19, on how to sell drugs, and asked "if the money was flowing...on the
block.”

Brown allegedly said, "The most I bust yet was a $70 dollar sale yesterday.”

Layne, whose alias is "Jay Cash,” then proceeded to advise Brown on the best way to

earn drug money, the DA said.

"You gotta be out there in the morning...Just sit in front of the stoop in the morning.
You catch all the morning flow, cause they'll all like come see you,” Layne began,
according to the recording. "Boom, boom, boom. Cause that's the morning. That's their

first high, so you know they're gonna come get that.”

The indicted members were charged with conspiracy, gun and drug charges. A series of
arraignments began in Manhattan Supreme Court late Wednesday morning. Vance
himself stood before the judge as the defendants were arraigned in Manhattan Supreme
Court.

Several of the alleged gang members face life in prison if convicted of the top felony
charge, first-degree conspiracy. All but two of the defendants were in custody

Wednesday morning and awaiting arraignment.

Prosecutors said the gang members used female associates to carry and sell firearms in
an attempt to conceal their illegal activities. One of the suspects arraigned Wednesday,

Afrika Owes, 17, is accused of carrying guns for the gang.

"She is widely known among the individuals in the indictment and in her peer group as
one of the females who carries the guns for the males so when the males get stopped by
the NYPD the gun is not found on [them],” said Assistant District Attorney Christopher

Ryan, adding, "This is a very, very commonly known tactic by gang members.”

The group also allegedly recruited youths under age 16 to carry and transport guns and

drugs.

The 137th Street block had been lorded over by the crews and their activities for years,
locals told DNAinfo reporters over the course of the past year. Last year, DNAinfo
chronicled the rise in Harlem youth gangs and the way locals have been terrorized by
them (http://www.dnainfo.com/20091216/manhattan/harlem-caught-crossfire-of-
youth-gangs) with an interactive map and the harrowing tales from locals caught in the
crossfire between dozens of gangs scattered throughout Upper Manhattan. The
immediate surrounding areas are home to the Abyssinian Baptist Church and Harlem
Hospital.

"Although criminal activity has thankfully dropped citywide over the past few years

https://www.dnainfo.com/new-york/20110216/harlem/two-violent-central-harlem-youth-g.... 1/26/2017
Harlem Gan§oS@sted Pn@rRasibwk PA arleacupEnliAie Ndled@i26/17 Page 14 of 66 Page 3 of 7

gang activity remains a constant threat,” Vance said at a press conference Wednesday.

One alleged gang member, Jonathan Hernandez, 19, was charged with attempted

murder for allegedly firing a handgun into a crowd on Fourth of July weekend last year.

Jarel Robinson, 17, was the only alleged gang member to be released without bail on
Wednesday. Prosecutors said he had posted several photos of his friends — who are
allegedly fellow gang members charged in the conspiracy — to various social networking
sites and Photobucket.

He is "a prolific poster of Internet photographs of himself and his fellow gang
members,” ADA Ryan said. At least one of the photos shows Robinson pointing a gun at

the camera, Ryan added.

But his lawyer said Robinson is nothing more than "a serial photo uploader” who is
charged with nothing substantial in the 51-page indictment that ties him to the drug-

and gun-ring conspiracy.
"[They] have not separated the gangsters from the wannabes,” in this case, said
Anastasios Sarikas, Robinson's lawyer.

Prosecutors expect to charge members of other organized gangs in the future.

Prosecutors have identified the following defendants who were charged as part of the
gang bust: Jaquan (Jay Cash) Layne, 20, Dashawn (Rock) Davis, 20, Jeffrey Brown, 19,
Jonathan Hernandez, 19, Habiyb Mohammed, 31, Malik (Zab) Layne, 18, Jahlyl (Lyl)
Layne, 18, Afrika Owes, 17, Jazeke (Zeke) Samuels, 17, Pierce Gross, 18, Brandon
(Monk) Santiago, 17, Jarel (Rel) Robinson, 17, Tyrone (Tata) Gibbs, 18, and Louis (Lou
Money) Williams, 17.

The Rev. Vernon Williams, who has worked for several years to curb gang violence, said

he was excited to hear that Vance would prosecute the cases.

"T believe that the District Attorney's willingness to have a hands-on approach is

refreshing. It's a sign that he wants to uphold law and order,” said Williams.

For years, Williams said he felt like no one was listening to the concerns he was raising

about the rise in Harlem youth gangs.

"It pays off when you keep banging pots and pans in the forest because it eventually
chases the bear away,” he said.

He added that the success of the arrests and prosecutions depends on how deep the

investigation went into dismantling the gang.

"If they just got the young guns and not the adults who are facilitating this activity, it's
not going to do much,” he said. "There is no such thing as osmosis when it comes to

gangs. There are adults who are facilitating this violence and death in our community.”
Many locals say the existence of gangs has become a fact of life in the area.

"You have to walk without fear and mind your own business. The problem is that a

bullet has no name," said Marisa Negron, 52, a restaurant manager.

"More needs to be done than just arrests,” Negron added. "Right now, these kids don't

https://www.dnainfo.com/new-york/20110216/harlem/two-violent-central-harlem-youth-g...._ 1/26/2017
Harlem GanSS8fisted i WiPaiGwK PAarkaruDRalito NAEOR2 6/17

have good alternatives and outlets.”

Page 15 of 66 Page 4 of 7

Monique Caines, 23, an event coordinator has lived in the area her entire life and said

she's not sure the arrests would make a difference in the long haul.

"The only way this makes a difference is if they keep them in jail for a while and they get

all of them. If there are some left on the streets, it's not going to work."

Caines said parental control is the issue.

"It's up to the parents to control their kids. They have to find positive outlets,” she said.

V9 HMPA

Introducing the

[dna] app.

Because neighborhood matters,

 

 

    
 

  

  

ee |

fates seers

2

   

 

gS: Recommended

UPPER EAST SIDE » (HTTPS://WWW.DNAINFO.COM/NEW-YORK/MANHATTAN/UPPER-EAST-SIDE-
ROOSEVELT-ISLAND)

Trump Is Making Second Avenue Subway Expansion a Priority, Pol Says
(https: //www.dnainfo.com/new-york/20170126/upper-east-side/second-
avenue-subway-east-harlem-midtown-federal-priority-list-funding)

ASTORIA » (HTTPS://WWW.DNAINFO.COM/NEW-YORK/QUEENS/ASTORIA-LONG-ISLAND-CITY)
Shia LaBoeuf Shoves Hitler Fan on Video, Gets Arrested
(https://www.dnainfo.com/new-york/20170126/astoria/shia-labeouf-arrest-
trump-museum-of-the-moving-image-nypd)

YORKVILLE » (HTTPS://WWW.DNAINFO.COM/NEW-YORK/MANHATTAN/UPPER-EAST-S! DE-
ROOSEVELT-ISLAND)

‘Rat Circus’ Has Taken Control of the Upper East Side, Residents Say
(https: //www.dnainfo.com/new-york/20170125/yorkville/rats-upper-east-
side-health-department-east-88th-street)

UPPER EAST SIDE » (HTTPS://WWW.DNAINFO,COM/NEW-YORK/MANHATTAN/UPPER-EAST-SIDE-
ROOSEVELT-ISLAND)

City's Zoos Are Fighting Over Who Has the Cutest Animals on Twitter
(https://www.dnainfo.com/new-york/20170126/upper-east-side/cute-baby-
animal-photos-zoo-aquarium-nyc)

Saks

https://www.dnainfo.com/new-york/201 102 16/harlem/two-violent-central-harlem-youth-g...

     

  

z 2
(https://www.dnainfo.com/new-
york/20170126/upper-

(arias. //www.dnainfo.com/new-
seer PVA "oe 26/astoria/shia-

ue
thesesc/ingvw.dnainfo.com/new-
yodgeiad 25/yorkville/rats-

 

Gatbe6s //www_dnainfo.com/new-
york/20170126/upper-

east-

side/cute-

baby-animal-

photos-zoo-

aquarium-

nyc)

1/26/2017
Case Pete age Document 47 Filed 01/26/17 Page 16 of 66

   

 

—— Le
4 ‘SUPREME ( cont OP THE STATE OP NEW YORK tn
Ree ok x COUNTY: CRIMINAL TERM: PART 93 7
THE PEOPLE OF THE STATE OF NEW YORK,
Decision On Omnibus
aS ; Motion
=. JAQUAN LAYNE, ay shee

. - | Ind. No. 89/2011
Detendant. _-

Se eee = -

Zoe ee ¥
. i ‘ ee oe
eae a ea ee i es — = - - eee
i fis soe

ee ee

 
 
  
 
 
 
 
  
 

n spect the srand. jury minutes is granted. The

= =.
oe

 

chi sharged. ‘The prosecutor properly

ne
eae
Es ee
eS ee See

d the ‘eran ary Pees was notdefective. =

Ee

es
as BE

 

Se Be ee aes
| fee ee
lease of the minutes is not

 
 
 

 

is Q eee
oe 210.30 [3]). Defendant’s

notion for felease arthe earidit jury minut denied. a ae a
/ 2
_
ESS

The prosecute shall eles Rosario material (see People v Rosario, 9 NY2d 286

2 eee
ee

 

 

: = =
eae eee 1" ben
: ' ‘ee = oes -

 

 

  

 

 

 

 

ea
see Ca

copy of the search warrants and

.
LayneMotio@p&S@p&:15-cv-05871-KPF Document 47 Filed 01/26/17 Page 17 of 66 Page | of 1

sits alleatons s

 

https://mail.zoogle.com/_/scs/mail-static/_/js/k=gmail.main.en.cb{MvYeVAYe.O/m=m_i,... 1/26/2017
   
  
  
  
  
 
   

Se _
Bef ee =
oe = ee ee ude
ee ee ee
il gee ea] am ee Bee
1C ¢ el re VL. 2 Se
a MP bd UL Pe MS ee eee
; ee Se
: a ee Een ie
; -— oe s oe
as eS

— See ee

snd (he proseoulion of its s continuing duty t to disclose ayer able

 

 

 

at (he dete ene (see Brady v Maryland, 373 US 83 { 1963]; a oo)

 

 

 

 

 

 

 

 

ees ne es

    
 
  
   
     
 
   

 
  

 

  
  

 

 

r. Mie ae

2): P fee Ck
as torequire
Pat Ho ah ee
. ae —
CE nate i

; eee Pela :

that could be admitted as ¢ dence at trial but to

eee
ee
ey

n4 424 Cir 2007) if

ae ae

 

Eee
es

 
  
 

Case 1:15-cv-05871-KPF Document 47 Filed 01/26/17 Page 19 of 66

O|19A1 |),

aR
a

eople lev F entimiglia, $2 NV2d J

    

 
 

PERRET FREE arsenate = nm rsal ott . ee - <i nee mee cess! ee nie KEEN TEM

L] REMAND [7 ROR

 
           
         

 

 

 

 

sense ngptsbenayy on = ets adianmmem Fob sepa pentyipraniceer Mahiealay = iia a
Ble is a i __ | O NEW BAIL CONDITIONS
kc hu SURETY

 

verve re — nir ate Bil tedie, yh be “oe ~ er

RRANT ORDERED

. ete ee

JUSTICE
0 BAIL FORF. 0 ROR REVOKED

 

 

 

 

 

 

 

 

 
Case 1:15-cv-05871-KPF Document 47 Filed 01/26/17 Page 21 of 66

eo

  
   
  
  
 

 

somber 2, 2009, in the vivinity of The Rikers Island Jaz

( GaquaN LAYNE, whk/a “Jay Cash,” alkla “Jay.”
fendant HABIYB MOHAMMED in par snc

 

et tle hone conversation with de

fe
SESE gE

ce sting defendant HABLYB MOHAMMED

 

     
    

“Say,” engaged in a narcotics-

ease

im part aad

    
 
   
 

: pees
oe . : ‘ ee =

3 a a i Te Sl ee
ia sty ae Sl ioe ee ee
ae ys _ o =e

), in the vioinitys of West 137" Street and Seventa Awemec.

BROWN engaged in a narco i es-related telephone. conversaties
ire ee = =
i ee

ae

   

 

  
‘MW'O'd %0L®
ClLOOl DAN
“ONE ‘OYASWNIE sannAr
SOLS ‘ON J9piooy

Case 1:15-cv-05871-KPF Document 47 Filed 01/26/17 Page 22 of 66
1/20/2017

Christopher Ryan

Greater New York City Area | Law Enforcement

Christopher Ryan | LinkedIn
Case 1:15-cv-05871-KPF Document a7

Filed 01/26/17 Page 23 of 66

344

connections

Chief, Violent Criminal Enterprises, Manhattan DA

 

Current New York County District Attomey’s Office
Previous New York County District Attorney's Office
Education University of Virginia Schoo] of Law
Websites Company Website
_" F ‘a
fisxnrvar f *i - IA 3 W
% — \ baat’ | ' —? _) i es | 2 1 hag
b
lti~m, fan
rc Trae
L es fi { hoe he

Your colleagues, classmates, and 400 million other professionais are on Linkedin,

View Christopher’s Full Profile

 

Christopher’s Activity

—== The latest installment of EBG's
sy Thought Leaders in Health...

Christopher liked

The Power of the Blue Light
Christopher liked

Exiger announces the launch of
our Global Investigations...

Christopher liked

 

 

| was quoted recently in “Mental
Health False Claims Case...

Christopher liked

 

Experience

Chief, Violent Criminal Enterprises

New York County District Attorney's Office
June 2010 — Present (6 years 8 months)

* Supervise a specialized unit of experienced prosecutors, investigative analysts and police detectives
responsible for the dismantling of sophisticated criminal enterprises throughout New York City, including
interstate gun traffickers, major narcotics organizations, and criminal street gangs.

* Developed the methodology of using large-scale, long-term, multi-defendant prosecutions under New York
State’s conspiracy statutes against violent neighborhood-based street crews throughout New York City which
became the NYPD's “Operation Crew Cut,” incorporating homicides, non-fatal shootings, robberies, firearms sale
and possession, and narcotics offenses, with evidence derived from court-authorized wiretaps, social media and
recorded jail telephone calls, and confidential sources.

 

https:/Avww.linkedin.com/in/christopher-ryan-8897854

 

18
Case 1:15-cv-05871-KPF Document 47 Filed 01/26/1 foe ,Raga:24debi ASuywoo-upayuymmnyysdny

oBaig ues ‘elusoyiesd jo Ayissaaiun

elie QOUaINS JeonNNOY *
NOINA IDS JeonOd ‘Wa

aBayjo5 uolun

eo
T Me] JO [OOYDS eIUIBIIA Jo AyISIBAIUp

uoneonpyz

 

 

"SUPA! PUB SONODeU JO aes pue uoIssessod 9y} UC pasndo) suojNIasod Jo jun eB pesimedns -

(yjuow | sieah y) OF0z BuNP — gQ0z aun
BIO SASUOY }UIsIG AJUNDD WOA MAN

Buryoiyesy Suueaily ‘Jaya Ajndag

“suonebyseau Aun[ puei6 jo spaupuny peyonpuosy -
‘uo|ssassod pue ayes suodeem pue sayooseu ‘Yyou)-AjUep!
‘Augore| pueib ‘Araqqol ‘Buiddeupiy “epanw ‘Aoesidsuos Buipn|oul ‘jo1ps9a 0} sases JEUILUUD Of JOAO POL] »

(SujuoW g SiBOXA BE) JUaSoIY — BEG) JEquia}das
BIO sASWOVY yOUsIG AJUNDD yIOA MAN
Aauio}V J}OUISIGg JuR}SISSY

‘suea inoy ul suaquiew Bueb oop pue sBueb 71 jsuebe syuewjoipui Ave1dsuoo SG} WBnolg «

‘Aioysiy Ayig JOA MAN UI UO!INDesoud Bueb jsabue] eu) pesissadns -

‘Moysiy AYO OA MEN Ul UONNDasO/d Buyoyer UNB jseBie| ayy pasi~sedns «

*sajnje]s soa} $,a1e1S

HOA MON JEPUN SdIHO s,AswoyYy JOLISIG UeyeYUeY] 84) Aq IUBNoIg SJUSWSIPU! JSJly OU] Ul LUSUOUS] JO SLULD
e se uolssassod suodeam pue saaisojdxe ssassod 0} AdeIdsuo9 Jo Me] aU} UO JasUNOD je6a| yedxe pepiaoig +
"suayoiyjes} unb jeBel|| pue suoyjeziuebio Brup wou syesse polf! Ul! SUOLI[JLU 18J10) pue azies ‘age.

0} sesudiaqua Jajsues} AQuow pue ‘suuly ebeseyouq ‘syueq Bulpnjou! ‘suoNNyNSU! [EIU paseqoyo,A MeN JOfew
WO} |EUUOSJad SadIAJes Je!sueUl, YM UONOUNfuCd Ul SuoebySsaAu! BuuepuNe| AsuOW-NUe xajdo9 yoNpUOD «
"sua y91eI] UNG jeBalj! pg ysuleBe sjuawujIpu! ayeredes 1Z 1YyGnolg »

“suonebiseaul Saijoeoid Ul S}ael]s AjIQ OA MEN WO suNBpuey jeBbayti COOL

J8A0 paAoweal PUB ‘GLO? Pue OLOZ UsEeMIEq %OOLL Aq ueyeyUey] Ul SUONoesOud Bulyoujes}; UNB paseaouy «

 

uypexurq | ueAy saydoysiyD ZLOZ/0Z/L
4/20/2017 Christopher Ryan | LinkedIn
; Case 1°:15-cv-05871-KPF Document 47 Filed 01/26/17 Page 25 of @@
Latin American Studies

  

Virginia Law

 

 

 

https:/Avww.linkedin.com /in/christopher-ryan-8897854

3/3
Case 1:15-cv-05871-KPF Document 47 Filed 01/26/17 Page 26 of 66

Exhibit H
Case 1:15-cv-05871-KPF Document 47 Filed 01/26/17 Page 27 of 66

Reorder No. 5105
JULIUS BLUMBERG, INC,
NYC 10013
@10% P.C.W
Case 1:15-cv-05871-KPF Document 47 Filed 01/26/17 Page 28 of 66

PAGV SUMMIT |
Los ANGELES, CA
May 2, 2016

CHRISTOPHER RYAN,
CHIEF |
VIOLENT CRIMINAL ENTERPRISES UNIT
NEW YORK COUNTY DA’S OFFICE
Case 1:15-cv-05871-KPF Document 47 Filed 01/26/17 Page 29 of 66

SPIE YAO SP Po IWLWOd Sasudjjo
DAIJUCISQNS JO} ME] 9}e}S JOPUN Aqyiqel| OU -

ISUIJJO JUDJOIA-UOU e SAeMe -
:IPISUMOG

UBWAJINDad aunjoNIjs ajqeusadsip Ou
‘Ayosesaly ou ‘sau usayed ou sauinbau -

asJeyo ejjaiquin Aveluapiaa -
“AD esJIGSUOZ Jo sapisda

apisumMOoqg/apisdp Adesidsuo7
Case 1:15-cv-05871-KPF Document 47 Filed 01/26/17 Page 30 of 66

Conspiracy in the First Degree

¢ PL: 105.17:

— With intent that conduct constituting a class “A”
felony be performed, he, being 18 years old or
more, agrees with one or more persons under the
age of 16, to engage in or cause the performance
of such conduct.”

- Conspiracy 1 is a class A-I felony, 15 to Life
minimum state prison sentence
Case 1:15-cv-05871-KPF Document 47 Filed 01/26/17 Page 31 of 66

dJOW JO ZO Z “S3IJOIIEU JO UOISSassod
DIOW JO XY “SD1JODIEU JO ajes *||-V

SJOW JO ZO Q ‘S31}OIIEU JO UOISSASSOd
3JOW JO ZO Z “SdIZODICU JO BjeS :|-V
‘SOIUO]2} S1}ODICU VV SSE]

99Jdaq SJI4 ay} Ul ADesIdSsUu07
Case 1:15-cv-05871-KPF Document 47 Filed 01/26/17 Page 32 of 66

3] So ‘=

 

 

a IMeww ork

  

     
  

= 5 are a
“re e = Pe ‘ert
iv oA Tin Pel areotea}el8

tip oe
me * a
Teaneck Creel ie ae =o
= lar frock Brooks aoe ye
: a> VASE rv EBC ~ a rey
=y a Mature Conter) a £1
= i - ' eh A Mew vo
Leonia A aus a Ts ae = Lin hee rst Eo teri rc
Ricicqpeteetct pS jf a = - ry leiakits Garcde
fa rh ae f14 et ri, . Ee a
Fa — = t a Wiest Bronx
ae} Palisades Ces) Fortec) oe
* oS Park _ ‘i ee nanan rere ort
i a a . ¥ va sh: ena tosy r bare
nd i335 2 “a Meicailh hee
. é : a
, mea ’ , fig
i Fidqetreld ; me. iain
se os % z
/ a is 3
3 J ae Wpper- 8 i MIorrisania i
4 lf | oe a Es
= ; Mths ice a Manhatten | wMeinass at a
et Park ie Mey a
2 of st, pee
oa Flan roe ee - t4airlerm — ~s =
5 - e <
eas » - - Paget Klawen Pn
Pa a “tne << r
ar Porth i of ; oe * ee ot ae:
; RBerepen wl 7 et ore Mitr Tass —
a A Ss as oh <
Rc ty ro 1 C 4 t lea ce
= ae, a
== West treet Be ne Es
~~

 

ee “Feb

Hels

‘ye ee Bae wy ET y
, Kitchen

eshington
ark 2.

eae

Te

Ny lve

30kem

== Att.Murder,

Tramway

~*~ =I 4 , d efs f< 5 Cor n is Oe a oS

: 2
oo

oe

eee ae

cen tral Park

rua ryy 2 0 11 ee =

gf oe Sculpture Park 2 ===.— nee

Astoria

Pee

Long C25)

ea Towe
sacl omegor Alphabet —
—, f Ss Lower City Greenpoint
ae 7 Manhettar F ge
= : . 7 a Faelr
4 ; i . ro 2 = Wiilliarns bart
3 Mew work it rae a ;
" ee aK - Wy Wace: rt e mac &
= - on sala et Me. wwe Laer TrSka ery Bigs
= Cao ae Daarmbo or as
* “Ty . Res pe
oe

B ‘6
tery F ark Brooklyn Bal

Corrie roctore

een Fes ete

\S S =: a
=
fis eS or ae ;

=
apt

“Tel

Soe ths ——|
a enn in
Sit rimer
watlew lank

Rice wre oect

beth, Pane
Case 1:15-cv-05871-KPF Document 47 Filed 01/26/17 Page 33 of 66

BOLO RILH OHH ~ YOO OZ,
Bs “ey

Oo.”
! V Be
A

         

- aoe
ce) 23

 

 

 

 

é | i ,
ues syunmes |
Case 1:15-cv-05871-KPF Document 47 Filed 01/26/17 Page 34 of 66

 
Case 1:15-cv-05871-KPF Document 47 Filed 01/26/17 Page 35 of 66

MOBY Ul YSIS YAZET JO OOF & UO SBNAP po}o.1yUGS IBY] Sues ue[oIa BJO Japear ¥ SLYEq JO pasnove sg} ausE] UeNbeEr

 

 

1106 ‘Tk°"100 NODFTZ NHOf 4g

(suny DST ‘AjJOOxXT DUM :Auang) D ‘jolt LT Aopiidsuo’y uy
Case 1:15-cv-05871-KPF Document 47 Filed 01/26/17 Page 36 of 66

Jaquan Layne:
Yo me, Lyl, Zab, and Rock is going down.

Unidentified Female: For real?

Jaquan Layne:

Yo you know. You been in my house. You
ain’t see whats really in my house. We got all
types of drugs in there.
Case 1:15-cv-05871-KPF Document 47 Filed 01/26/17 Page 37 of 66

“auoud
OY} UO }EY} 91] SUI]e} dojs"""yUEM },UOPH |

‘uenber

di 3038 [as Ayeal] guoNenys
QUIU YN 94} Win JeY} YUM poos s jeym Aer

sauAe7 HIE
Case 1:15-cv-05871-KPF Document 47 Filed 01/26/17 Page 38 of 66

Jaquan Layne

When | get home | ain’t doing a damn thing but
selling crack. You know how it is. Hug my blocks all

day.
Case 1:15-cv-05871-KPF Document 47 Filed 01/26/17 Page 39 of 66

00} ZC Ppue ZT JO} BWIOD Jeu}

uew Aw noA jas e Ww

“IYSI|V

JOJ a]d09d Ma} e 1038 |

-auAe7 UeNnber
-ouAe7 HIE

é}ysdisyje ‘noA
-auAe7 Uenber
Case 1:15-cv-05871-KPF Document 47 Filed 01/26/17 Page 40 of 66

 
Case 1:15-cv-05871-KPF Document 47 Filed 01/26/17 Page 41 of 66

« FOYAdutIoS

av 1OA ‘BUIYJOU Op NOA JY ‘SsatLISNg SNIP styj Ul St PANULar INOA ‘gof ort iq Sato]

ao1U pue Aljamaf ‘AatOUl SBl] AATWL[AI INOA JL, SIBVs OF SA] JU IO] aUAR] “WosTId 0} SI9t]}O
INO} PUL BART , [s¥D ABC, WENDEL Iapvay Zitws PaOIAOO JUas ay SB PTes UTTYSNE TOL

‘f PAWVAPT Bd1jSNE }.1NO;D outteidng ayeys UBIBwIUB]Y , ‘SpuBy SUNOS Ss} UT suns

O IIQUITIE 3} SsONpal O} JOB UBO ALIEMUTEUOD at 7 ‘Spit uaKo SHI SUIZULIA Wey} Jatyy2
! Teuyouy 1 M

‘aorjod 0}
SAI} GALS PUL SUNG [VZal]] SOATV[ aI FOJ SPLOT, LLMO Tot]} YIIBES 0} Sjtaptsal tlapIBY Sun
TAPUL stp} YUM ‘ATUL UNE Wo UALOP YORID 0} SATHUNUILOD IO} Ald FUUATTBI s,o8pnif{ v outwaaq
Avpseny sues BUIp [Raq] Wa ola v I sradVTd papIAUOd <A 10] SutaUsUas VY — IYOA MAN

SSSAy PVEHOSSY

44 urd [Sr WOt “GZ AON parepar

dJI] 0} OZ $208 ssoq Sues snap JAN poyAuos

3

    

SN

ALIS OL GGUS ASSES “STOLL GiVd V 40 AMSIASYd V ONIDW3Y UW NOA

OLY AN

    

SuIOTSSIMIpy
feqidsoy sdeysany
savy SEsIpaly mp

sSallIsng JOUIs}VT
JO STES YRTOM,
O} PIvog ooeX ag

KEL SPTEUAC IN |
aeBysaauy oT ag |

 
 
 

a7 Spy ouotuIdgQ = SyeysRyY «= DAY = SSaUISNg «=AWIOUGDy «SINHO ST) PLOAA BOL]

"TVNGNOF IAAUS TTA HH

 

 

 

 

bi

 

 
Case 1:15-cv-05871-KPF Document 47 Filed 01/26/17 Page 42 of 66

 

 

137" Street Pre-Takedown
Magnified Image:

 

                    

i
i pe MiBiDO i NY a
Jan 2008 - Feb 2011 sign church Uy whadulit ine) &&
“ ae Ae goer Lele a
Shootings and Shooting ) mM ae
Homicides ae Al is sy
fe L11) Mobile : ‘ishdoshety
Wats 7 stir a
pts, ar Le
ae
Fred Sarrmatl ee
Wy, ie
ac V3
‘oy Tin
Sr Marke the 5
Kvanngeliay
AG Chath
~ eY
dias ee Hoorn Nedyicetil Wa.
Halstad omy Prenkarterian Ss,
Acocherry ms va
hn)
ay & f y
é
ge } S
Es ae
4 ; / ean
‘ ¥ Adetrenprl aint phat
aa i) toh) ATCA ME Hbapilal Center
+ Bale Place). « . > Chute,

Fl = Shooting Homicides

B i= Shootings

 
Case 1:15-cv-05871-KPF Document 47 Filed 01/26/17 Page 43 of 66

   
  

 
 

akedown Area
ae

 

>
4 i
a Se
: : Ses
“6 ~= >
: a .
%
i- o> . simi

™ =
9 a My
—_= = Hl

 

 

 

 

OA18 Viamed 3 wri

 

8 EGY ) awov GAIS TRM0"U' DS YOY CATS TT3M0d > AVOY ATG TEM Oo Wrov
- = -
:

   
Case 1:15-cv-05871-KPF Document 47 Filed 01/26/17 Page 44 of 66

 

sx - : — eer

   

 

 

a cm
coo 7S 2 = re ee - Sth a rile é 4216
' = o.. <-> : aan : ; Min odie
Teaneck Creel »
: Conse rvercw! Fier laa eek Bree - ‘ yd
—— = MAT Cire cen fers 2 oo ze ore ry
; aa d = eee ee ee
Leonia ( oat : ay = ‘Im Mvenrsiiy Feo henry rec
tioacpetae ; ee a > Heiahts ve
Ses a = fe eS ope ease.
s - Lo eae early — R * ae
' . i ae ia — 2 me ean lee A ficdac 21 eer West Bronx
tae} ah - Padisedes Ces) Fort Lee e ’ uv welctat: “2 at
"i Park . i ™ er <I papers ee ETT UTI
is 4 es, ‘ é Wie = ye regta a Ty
oy : f 25 . 2 Heliahtre Ged
ae Ricdcpetretc 4
- e° ' e od
a e £
tg ay 3 i ae Mon mania é
, - wit shee “ = il” i
= Cites a = na - a iMeIina me wa
oc Park ‘ git ae
i J ai A
=a 7 we z se i
a Fatrweever J er as =
bs ae Mott Hawen oo"
PMorth a =. ele
= ore "ht corres

Rergen

 

SE 129%" Street Indict t

  

cod

=
See

Ee
ee
=

 

ment

 

= Pde new OW ork
S Z ae
Lintanm Coty sa onNerat Par 20 1 1 %, paar
2 _ 5
—— us i Pt 4 nee ‘ ‘>.
ASS A aay eK. love m - ly ad - CT ALCS Write,
tiles Beanie * s “Sculpture fark = ae or, ia -
a Kitchen Tramway AStoria = ae i
a fee er si rately
= Ni ridge aS
— icwv a
echo pee! Or) Wi ood sacl
Aad - “Dy Pus Soe, x ie %
: 2 AF Long C25) =
20ken U ir ganic — r = am g*'* —
» ~. = ay
os
a ° ale st ; 8 i
I EC tna
at aor eee Maser =the wast
FOCHy Lago = Algo heii = ts ee ee I ae —_ a =
—— jhe) ee = Li we rity a5 preihees inet ' PRET EPE
ie Mianmhattanm ey cc a 2 Valley Park
C=: ie wa a
gt ™ ao nuts 2G oO! r Kk f f — el Wilhiam%nis hurr
be ee ge aS Ridgewood
a = 4 Ys ea
ind Roll ‘ oer! aad Wrilttarnstovercp =r
e : 1 ee = oe ae
<> a eee. Dunst a air a= SA
_B eter Mork - — Convnrodoare ee Roe
= Mj a Fiiookl A et Ee pmsdnetiyier iar aera
Case 1:15-cv-05871-KPF Document 47 Filed 01/26/17 Page 45 of 66

 

 

HAY
eee ”

 

fa. Va : Wy , a . at
tn ‘ = ey] The 49qoO — 2007 aun
9 5
ty £ * 4 ey
Tea ig i ry, Ty /[ -.

     

 

 

‘ i s8uooys

 

 

 

 

 

UMOPIYE L-I1g 399.11 YI671

 
Case 1:15-cv-05871-KPF Document 47 Filed 01/26/17 Page 46 of 66

 

 

ce
oe
see
S
ee
eG
ee
siagigsiic =
eerie ee
ae as ‘
ee ?
a :
v |
ue
ae
Ee

Wight BT

 

 
         

&) Shooting

129 Takedown Area

 

 

 

oer <
at 7
Ay
cal

 

 
Case 1:15-cv-05871-KPF Document 47 Filed 01/26/17 Page 47 of 66

<4 eee oe

  

   

 

 

Fae Wy Lr Oc Sy ae
aun aghivyd ee SPOOL vol i Se Ie gostiee
ee at: ae =) o aq " eer i . | ygot te
43 Sanvcqgauiey Ti Pha as one a 2
pPooreG prey = Ps : ie {
a aS
iP AENCpe Lape nyys yy ne ue >
es 23 ee er a ar >1 AG A Ph Ne Shs
WA Mae, er od Wes y ey
Jercyen . - aa . ! ue et LenS pr) ei
sonanooerinmepes 7 -. ee 3 Od ee ae ey - aw ALIS Bae OY Sty “i <<
= : ejaael see wd , a * 2S ict et =a MP nce
a, yar (re eer E 7 9
, ‘ a Fea - <a)
4 ase) Lnoorate es res ae . Ae as SGesr, Leah 4 a
ei TS ae i - a ’ i
= SS Anes A eNeT 71S eras £ Ae St =e sy ox
7, Cs2. i Gum] Pe eer a =. ae
“ : ARIS Sa pia g a 7 -
apes Fe or, ie <8 PE
% , eS Awe SPI s Ciao Uo poise
ete Seen ety NUE en pS es ct i
13 — SrPio shy mn, oa ‘ ote A ee jt ISR ESAT DG < ahs
cules ee ey Samy oypras r= at Soni Salen (2) Musa yaaa,
SR SE EP LROS ss aes a 7
Rig! “4 iA SNE NSS 3-Ss re wrenbs “38 ser
pa > ae 7 Sacicd |) Ligeia ——
: is ai ta rd
a vag» a MA PIII AA Weed
1, i Ee ks a oS =
- ~ Fe ” ae Hw , é HAA AAG PY =>
ull a We W_eljueyy 4 wah Soh. 7
ae eg ee | 5 oe
acre, pecaeapiery pisses =a = ‘ =
: ’, ii : te
galling . Nie
”” BNO 2154 Soe 3] ae
_ so =—“_ rk .
—_— ay 1 “
Lg Uae 4 toi a. > ) fe p +
| — sary
ee Za
oo =
oo 5 aysiu ae SEP cy
a f > a =
SitseSihicpsy “Bde. Fai
a sr.
prisrpaOp>ies
Peau =H iP
tae se L6-iie Lp SEA, t, ANU
BEND ALLS ey rete eneried F
: ey Saeed

; = yeh jars 2 Ces)

 

SAE, DS Sy as ches E> oe ae mae teh wes
: ie ———

spine, soci _ SOSNOF

Lr poy Ax 4 Sante = Ss ae

4 A SS a = ae fj "ail GON

, we . i « wy 4a) tao Pere

ere : 1 greord IES Jey J
=r fae

ae a) a aie = 1

ats rae iwes ie os neers uStie™

Sspesnesi

po we cscs
Rowe ns aSuo7>
ines JF AO aSuBS yp

=

Ae

H ujoou ie LES

e234 e
Case 1:15-cv-05871-KPF Document 47 Filed 01/26/17 Page 48 of 66

Reorder No. 5105
JULIUS BLUMBERG, INC.
NYC 10013
@10% P.C.W.
_ Case 1:15-cv-05871-KPF Document 47 Filed 01/26/17 Page 49 of 66

 
 
    
           
  
   
   

= zit i : pata ak eA Te th
PREME COURT OF THE STATEOF NNW YORE

ve NEW YORK 3 PAR \ eS as = eae Se AYE 41a R=E

ae
=e teresa Se “>

TT OF PREDICATE
te pvt RTE TA ONVICTION
OPLE OF THE STATE OF NEW YORK Nye LI

te eas

a
i gees
A. | eh s
es
Crs
=.
Sa
age, Sei
maa
a
ent oe
oe it
ee
AES
one ee
at Fo
ah i
Se
ss" a

‘

pat

ol

=

‘Fe

 

a RELATING TO INDICTMENT

 
  

a = aa
Posen
ae

    

aoe : Sa

Seen aad |
fe eee
eee ae
Case 1:15-cv-05871-KPF Document 47 Filed 01/26/17 Page 50 of 66

SOLS ‘ON 18psoey
‘MOd %OE Woo"Baquuniq;¢ammn
UWZLL OAN “OU| ‘@O\s|2oxX3BsaqUINIG

a

 

bait T Tey
Case 1:15-cv-05871-KPF Document 47 Filed 01/26/17

0:01

morning everybody thank you very much for coming

0:04

IT'd like to thank

0:07

New York Police Department inspector Ken Kelly

0:10

who was representing the problem here today I

0:13

and case detective Angus Mackenzie who unfortunately could not be with us today
0:18

but who worked very closely with us on this investigation

0:21

and we're also joined this moming by Captain ready a

0:24

from narcotics borough manhattan North one thank them for coming today in for
0:29

their partnership

0:30

with our office in helping us on this and so many other cases

0:33

not personal note I want to say that by thirty years ago when I started as an

0:37

assistant DA

0:38

I can Kelly who was the patrol officer in the 30 precinct worked on a number of
0:43

cases together and yes

ae good to see that our lives intersected I

0:47

again after so many years at for Captain

aoe safety is the first priority I love this office
ee partners the NYPD and although crime
hav thankfully dropped citywide over the last year's
vang-related violence remains a constant threat

ae ee continue she organized groups

twound Manhattan responsible for murders

1:13

shootings and rent a drug-dealing and this is particularly true in northern
1:17

Manhattan

1:17

many these crimes go unsolved as victims and witnesses

1:22

are fearful to come forward this morming

1:25

we are announcing the indictment a forty members a violent streak ru
1:29

that operated in central harlem a gang

Page 51 of 66
Case 1:15-cv-05871-KPF Document 47 Filed 01/26/17 Page 52 of 66

c
sesh I3A0 BSBO SIU) UT JaqJe30) oureo Aay) pue
ele
dOD 40} Yap Uo suo pur Ajiurey eYRY] 0} [[eO
60°€
YSOULL) [LUTUILIO JUSOIA JSOUT SA} YIOR MON TZ pesuosag [je
vO-€e
9Se9 SI} Ul SJURpUajop P] 94) URNEYLeW jnoYsnosy) APANIE SUILIO JOTOIA
68:7
SSoIppe 0} ASayeys canovoid mo ut days Joyjoue
95:7
syussaidal eased sty} Aes | se yng
CS:
] 1sUleSe sIoquISUI [ENPLAIpur jsurese
6r-7
ysed 0) UT saseo StONs y[Mq sey OM Way) BUDE} 0}
vr-~
SUIIOAO JuRTd ay} dojasop pue
Orc
sjods joy []e29 944 Jey asO0q} Jo Yara 0}
8E-7
sted Ot} SUT[ONUOS a19M PUL dU9IOIA SUTITENTIOD ore OYA 9SOT] UO sNd0q 0}
vE-~
9OYZFO IMO UIYILM s,10jnIaso1d & suIA} UTISsE
Te:7
ueyeyuRyy punose suoryeso] ayp1oods ul sanianoe SueS poliyuopr savy om
9C-T
WOISIAIP [BLY Mo ul sysaloid s,Aempeosg WIM pue dn
£CT
WS Au 0) posodoid asodoid am yoouter sey Xq dn
0¢-7
a1oy poyoesaidal st YOTYM jun asudrsyu9 [eUTULID
LIC
JU9[OTA INO TIM SUDIOM pue suOIsIOap UONNIasod usAUp-soudsIT[aqUI SyeUI
CL:
s04F0 mo djay 0} sem jrun saiZayeys suILIo ay} Jo yuLod au}
60-7
2d1fJO OY} UT oY] UI SoTsa}eS SUILIO B SU JOY IAM 9M Jey} psounouue
90-7
9M YO IRA SIU} Jaljieo UMop sues
c0-C
oye] pue ueyequey] punose pooqroqysieu Aq pooyloqysieu sousj01A Sues
8S°T
YORE 01 CAAN OUP TIM 4IOM 0}
SST
ABayes sudo} A[ayeJoqi[ap St 991jJO mo ut days yueyOdun ue
TS:
SyU9S01doI 9SBD SIG] WOTIJ SU B YseID 9q}
ov'1
soidap-js1y oy} ut Ademdsuos yj posieyo uosud ut apr] oR]
ce
SJUEPUSJOpP OY} JO 9ALJ SOBIeYO snouas psory
6E1
sjUepuajap assay) smeod Jo} a8e)soy
9e°1

ONUSAY XOUT] 1991$ /E] Jesu SdUApIsal ay} poy yeqy
cel
Case 1:15-cv-05871-KPF Document 47 Filed 01/26/17

3:16

to operate in narcotics operation this case demonstrates that we in law
3:21

enforcement as

3:22

in this community's have to look if the collective impact

3:25

and damage that gang members do on our neighborhoods

3:29

in on the human lives our residents this game

3:34

over years creating an environment where residents lived in a state of alert 3
3:38

in a state of fear ready for the next gunshot and the next drug deal
3:42

for the next active violence in their neighborhood the block

3:46

which served as the primary day service games operation

3:49

as I said was 137 between Lenox and 7th Avenue

3:53

and it became nearly impassable as gang members established a thriving operation
3:58

shelling crack cocaine this was certainly

4:01

one of the most a violent large in the 32nd precinct

4:05

based on gang activity and as you can see from the map here to my left
4:10

137 are we r this game is charged with

4:14

operating its illicit enterprises is also in the middle

4:19

I love some harlem's most significant when Marsh

4:22

the mother AME baptists Zion Baptist Church

4:25

a block away from abs-cbn Baptist Church the house Center for Women
4:30

on seventh Avenue and across the street I'll

4:33

on Lenox Avenue Harlem Hospital Harlem Children's Zone

4:37

and the parent community center so we had a thriving

4:41

gang operation a drug operation in the core

4:44

a central harlem affecting some Yuh central harlem

4:48

and its residents most important institutions and gang are calculated by
4:53

was regularly spilled out

4:55

into the surrounding residential cultural and commercial neighborhood
4:59

in addition to the possession sale of crack cocaine

Page 53 of 66
Case 1:15-cv-05871-KPF Document 47 Filed 01/26/17 Page 54 of 66

PUES] SIOYNY UI YIM smou paieys Aay] yey} puels] SIOYTY Woy

0¢-9

SUOT]ESIOAUOS

87-9

suoyda[a} peps10se1 INO YSNoM} sty} MOY 9M 991 LEZ SOMA PUNOIE pur UI
veo

AMIAtjOe sarod

£c-9

jNoge sUIST{[OIUI YIM JoyJO Yoes papraoid Ayyenunuod ues siyy drysroquisul
61:9

payeisoIBoUl 90U0 TaAa JeMoTyed ur ATSUIGIN|SIp

vL:9

JusUIaDIOJUS MR] Aq poyoojap 3uldg sun3 ay)

01-9

Pooy![ayl] Sq] sonper o} suLeaNy popeoy yodsuey 0}

L0-9

uowoM

90:9

SunoA payosiey Ayjeoyioads yuepuayop ou) pue sUIe9I09 yoRIO [[2Ys pue
20:9

yodsuey 0} pasn a19M pur sotraqqos pur si[nesse Sued

6:5

ssunooys surpnyour AyAyoe Sues oyUl poyinss9s 919M.

95:5

9] JO 988 OY} Japun suas) Bury 2tp Aq AJOANDe][09 pyay sun’ pue

1S-¢

sIoquiaul Sues [eNpIAIpUr pue suLesIy Wodsuey UI poy oO} siaseuss} SmMOA pue
OP'S

UdIP[TYS psjos1e] Sus oy) pooylogysiou ay ul uawOM pue usu Sunok
(45

sopmasanl Ayazes ayy uayeomp Ayeowpioads

66:5

Osye 3ued SIy) $}99)S MO UO Ajazes 0}

9E°S

YE Inoge ysnl },UST SIy} SoIOJ BY} USUIAOIOJUS ME] 0}

Tes

sues oq} INogE UOTeUUOFM SuIpraoid woy wag] ademoosip 0}

8é-S

SIOQUIOU UMO IIIY} JSUIeSe SOUDTOIA SUISN YIM pasieyo ose are Kay)
ve-S

SBUBS JOOS [BAL YIM AjT[Iqrposd Joos ulese soueyus 0} UT

0c:S

Surwmed oy} UII

61°¢

qnjev}s UMO II9y} SoUBYUD 0} SsoUIsn SUIyOYZey soyooseu I9yy a}01d 0}
Sts

soliaqqo1

vies

put s8unvaq ssuooys Surpnjour youny Aq pasn sioquiaut MoI9 ANS LC]
Its

Tap1eY [eYUI9 Ul soURUIWIOp d1yde1Z003 dy) UTeyUTeU 0}

LO:S

uorTomnurure

90-5

pue sisAfOAal sunspuey syeWIO NE ZuTWEYsS SUIS YL pasreyo ov syuepusjap ayy
C0°S
Case 1:15-cv-05871-KPF Document 47 Filed 01/26/17 Page 55 of 66

6:34

on the activities of the 137 Street crew the arrest its members and associates
6:38

and the actual violence between their game and rival street gangs

6:43

recently in another matter our office obtained an indictment from the grand
6:47

jury

6:47

against a shitty corrections officer for bringing a confidential phone into a
6:51

correctional facility 3

6:52

and this is because we know and it demonstrates the issue

6:56

it without a doubt criminal enterprises are still being run

6:59

from behind bars as I mentioned we anticipate

7:03

if you are planning strategies unit are fine a criminal enterprise unit in a
7:06

trial division

7:07

other gang takedown sure the future as part of a deliberate steps

71

to focus on gaining guns and drugs throughout manhattan

7:15

this is among our offices highest priorities we will not allow

7:18

in our city should not allow or block a neighborhood or any part

7:22

a Manhattan to be held hostage by pearl enterprise

7:26

neighborhoods at this particular about the residence at this particular

7:29

neighborhood

7:29

were silenced first Fifield for years

7:33

and we believe it is our duty as prosecutors to speak for them

7:36

and we do so today with this indictment we can't permit gays to terrorize our
T:Al

streets

TAI

or to rob young men women up their futures

7:46

%uh now like to turn this over to pick you fellows in asking to see if you
7:49

watch

7:52

on behalf I'll but we supplement and Manhattan of my father's in particular
7:56

is always

7:57

good thing when an organization ] cause works with the district attorney's
Case 1:15-cv-05871-KPF Document 47 Filed 01/26/17 Page 56 of 66

SMOIA BOO YCueneyuR oY |,
HWONnMNUOL Osfidioyy Oy payoipuy Suny pie upsry pssiaj soley] -os0eA YQ-ITRI Ile

 

 

 

SMOIA LOE | VQueneyuey[ay
soured) Wa[eH seq [RATY JOlepY FO SIsqUIS;] €O JO JUSWOIpU] SossnOSIq OOURA VO ELPb °

 

 

“2 /A-SSeid /LUOD EPUL}EYURO Mada

‘aes sorjooreu pure ‘uoIssassod

suneoily Y[nesse poydwaye “Iapinu poyduraye Jo saSreyo ‘sjuepuayop [ENPLAIpUL UTeLII0 Jo ase> ou) UI pue
‘sasuajjo suodeam pur sonooreu HUIUIOD 0} Kovitdsuos jo saBreyo Surpnyour saBzeyo uo Zues yooys yeurunso
JUZOIA B JO SIAQUIOU p] JO SJUSUL}SIpUl soounouUR “IP ‘soURA “Y STUAD Aswioyy UISIC UeYeYULY]

E107 ‘97 dag uo papeofdy

ues Ady} Jo

8£°8

auoAraaa Aq A[Snoues uaye} SUIAq SI pue saBIeyo snouas

S£-8

Arga Bursey aie ode} & uo paysauie Zul9q wo are yey ajdoad ay | pue
T€:8

poounoune

0€:8

JUSWHSTPUI OU} Jey} AB] Ul Sau ay} yey) 998 AaY) a19q} INO si 9as Ady) Jey)
LT8

pooyioqysisu sy) 0) adessaur poos ev ,UST Osye 1 We |

v3

sula[qoid asay} Jo Yo yI0g sdoy pooysogyFieu sty

1¢-8

SUrI}SOU YIM peystury <[9}9;duI09 e [YUN doys jou [[iM om pue
81-8

\SoTTNY JYSNoy} sIoynsasoid aq [][LM 9sed oy] pue

ets

sn Jo yoq Aq A[snonas usye] aie Sayes STU UOTJOvOI JUDIOIA o[xe
60-8

9Y} SU0 Jey} UOJUE)s yey) aessour ay}

$0-8

apnyruseul sty} osed oq} opnyour pue

70-8

s01JJo

10:8
Case 1:15-cv-05871-KPF Document 47 Filed 01/26/17 Page 57 of 66

Reorder No. 5105
JULIUS BLUMBERG, INC.
NYC 10013
@10% P.C.W.
Case 1:15-cv-05871-KPF Document 47 Filed 01/26/17 Page 58 of 66 Page 1 of 1

 

https://gm1.ggpht.com/OhLuyPReyrY Y66LG0GZY ODhBTJUfk50jMp80CxnEJcPAbudx... 1/26/2017
Case 1:15-cv-05871-KPF Document 47 Filed 01/26/17 Page 59 of 66 Page 1 of 1

ur
{Tr we

 

https://gm1.ggpht.com/CyagwoGkw7Zw5hlaQMvoEHjajjRy8wol4IZYxVsEPVKrJSnbJfF... 1/26/2017
Case 1:15-cv-05871-KPF Document 47 Filed 01/26/17 Page 60 of 66 Page lof 1

 

https://gm1.ggpht.com/jhlG8wKrB WrfNSOOA9C9E2kiLfzBxY qDZym8f-P_tyFeJlupG f... 1/26/2017
Case 1:15-cv-05871-KPF Document 47 Filed 01/26/17 Page 61 of 66 Page 1 of 1

r

ad

 

https://gm1.ggpht.com/mowmloUIPSg20sy8Xfl0_ JAQJ_ YBpQ6AyVGC6zq5zemStKHQ6... 1/26/2017
Case 1:15-cv-05871-KPF Document 47 Filed 01/26/17 Page 62 of 66 Page 1 of 1

 

https://gm1.ggpht.com/cAZX5U4jSbgRgaRrdnYfjxLbRIBsXXccrbO0cqK0xPMfezGkvup1... 1/26/2017
Case 1:15-cv-05871-KPF Document 47 Filed 01/26/17 Page 63 of 66 Page 1 of 1

 

https://gm1 .ggpht.com/Mx9VLEjFjxdUXtrbl0XxcDpJU8_STVXAQOfpdQM3BNFGS8iAp... 1/26/2017
Case 1:15-cv-05871-KPF Document 47 Filed 01/26/17 Page 64 of 66 Page 1 of 1

 

https://gm1.ggpht.com/f7M2o0MctErTOy8QPegPicflefkPtLoPdlfR-OoSt9N3tr_XU_AMfeN... 1/26/2017
Case 1:15-cv-05871-KPF Document 47 ERA 41/26/17 Page 65 off66

Reorder No. 5105

JULIUS BLUMBERG, INC.
NYC 10013
©10% P.C.W.
 
